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1    LAWRENCE G. BROWN
     Acting United States Attorney
2    ROBIN R. TAYLOR
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2722
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7
8                      IN THE UNITED STATES DISTRICT COURT
                                        `
9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )      CR. No. 08-251 GEB
                                   )
12                  Plaintiff,     )
                                   )      STIPULATION RE RESTITUTION
13        v.                       )
                                   )
14                                 )
                                   )
15   STEVEN DANGERFIELD,           )      Date: February 6, 2009
                                   )      Time: 9:00 a.m.
16                  Defendant.     )      Court: Hon. Garland E. Burrell, Jr.
                                   )
17                                 )
                                   )
18   ______________________________)
19
20         The United States of America, through counsel of record,
21   Assistant United States Attorney Robin R. Taylor, and defendant
22   Steven Dangerfied, by an through his counsel of record, Donald
23   Dorfman, hereby submit this stipulation and proposed order to notify
24   ///
25   ///
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27   ///
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              Case 2:08-cr-00251-GEB Document 24 Filed 02/03/09 Page 2 of 2


1    the Court that the parties concur that no restitution is due and
2    owing in this case.      Thus, there is no need for the parties to
3    appear on February 6, 2009, and we request that the matter be taken
4    off calendar.
5                                                  Respectfully submitted,
6                                                  LAWRENCE G. BROWN
                                                   Acting United States Attorney
7
8    Dated: January 29, 2009              By:       /s/ Robin Taylor
                                                   ROBIN TAYLOR
9                                                  Assistant U.S. Attorney
                                                   Attorneys for Plaintiff
10
11   DATED: January 29, 2009             By:       /s/ Donald Dorfman
                                                   DONALD DORFMAN
12                                                 Attorney for Defendant
13
14
15                                         ORDER
16        For good cause shown above,
17        IT IS SO ORDERED.
18   Dated:    February 2, 2009
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20                                      GARLAND E. BURRELL, JR.
21                                      United States District Judge

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